






Opinion issued April 26, 2007














In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00241-CR

____________


ROBERT REYNOSO, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 248th District Court

Harris County, Texas

Trial Court Cause No. 1105240






MEMORANDUM  OPINION

	On April 12, 2007, appellant filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

	We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

	The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Nuchia, Keyes, and Higley.

Do not publish.  Tex. R. App. P. 47.2(b).


